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  IT IS ORDERED as set forth below:



  Date: August 18, 2020
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:                                        :       CHAPTER 7
                                                 :
   DUWAN PITTMAN,                                :       CASE NO. 18-68220-PMB
                                                 :
            Debtor.                              :

                          ORDER APPROVING EMPLOYMENT
                      OF ACCOUNTANTS, SUBJECT TO OBJECTION

            On August 14, 2020, S. Gregory Hays, the Chapter 7 Trustee in the above-styled

   case (the “Trustee”), filed an application for approval of employment of Hays Financial

   Consulting, LLC (“Firm”) as accountants for Trustee [Doc. No. 76]. It appears that Firm

   is qualified to represent Trustee in this case and that they represent no interest adverse to

   the Debtor or Debtor’s estate in the matters upon which they are to be engaged, and that

   their employment is necessary and is in the best interests of the estate; accordingly, it

   is hereby

            ORDERED that pursuant to 11 U.S.C. § 327 and Bankruptcy Rule 2014, Trustee

   is hereby authorized to employ Hays Financial Consulting, LLC as accountants to
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   Trustee in this case for the purposes and terms specified in the Application For Approval

   of Employment of Hays Financial Consulting, LLC as Accountants for the Trustee for

   reasonable compensation and reimbursement of expenses as the Court may award under

   applicable law after notice and hearing based upon an application to be filed in the case.

   No payments or reimbursement of expenses shall be made to Firm without Court

   approval pursuant to applicable law.

          ORDERED that this Order is entered subject to written objection of the U.S.

   Trustee or any other party in interest within twenty-one (21) days from the date of entry

   of this Order. Any objection to this Order shall be served on the United States Trustee,

   Trustee, and counsel for Trustee. If an objection is timely filed, then Trustee shall

   schedule a hearing on the Application and such objection pursuant to the Court’s open

   Calendar Procedures, and shall provide notice of such hearing to the United States

   Trustee, Trustee, and the objecting party.

                                   [END OF DOCUMENT]


   Draft order prepared and presented by:

       /s/ S. Gregory Hays
   S. Gregory Hays
   Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Street, NW
   Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
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   Identification of parties to be served:

   Office of the U.S. Trustee
   362 Richard B. Russell Bldg.
   75 Ted Turner Drive, SW
   Atlanta, GA 30303

   S. Gregory Hays
   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW
   Suite 555
   Atlanta, GA 30305

   Duwan Pittman
   5521 Marbut Rd
   Lithonia, GA 30058

   All parties on the mailing matrix in this case
